 Case 2:22-cr-00005-Z-BR Document 23 Filed 08/18/22                   Page 1 of 9 PageID 62




                          IN T}IE UMTED STATES DISTRICT COTIRT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    AMARILLO DIVISION

 LNITED STATES OF AMERICA

                                                          NO. 2:22-CR-00005-Z (01)
 RICHARD KAZMAIER (01)


                                        PLEAAGREEMENT

        Richard Kazmaier, the defendant, Benjamin Doyle, the defendant's attomey, and

the United States of America (the govemment) agree as follows:

      1.          Rights ofthe defendant: The defendant understands that the defendant

has the rights:

                  a       to plead not guilty;


               b.         to have a trial by jury;


               c          to have the defendant's guilt proven beyond a reasonable doubt;


              d.          to confront and cross-examine witnesses and to call witnesses in the
                          defendant's defense; and


              e.          againstcompelledself-incrimination.

       2.     Waiver of rights and plea of guilty: The defendant waives these rights

and pleads guilty to the offense alleged in Count One      ofthe Superseding Information,

charging a violation of 16 U.S.C. $$ 3372(a)(1) and 3373(dXlXA), that is, Lacey Act

Trafficking. The defendant understands the nature and elements of the crime to which




Richard Kazmsier
Ples Agreemert-Pege   I
 Case 2:22-cr-00005-Z-BR Document 23 Filed 08/18/22                    Page 2 of 9 PageID 63




 the defendant is pleading guilty, and agrees that the factual resume the defendant has

 signed is true and   will   be submitted as evidence.

        3.     Sentence: The maximum penalties the Court can impose as to Count One

 include:

               a.       imprisonment for a period not to exceed five years;


               b.       a fine notto exceed $250,000, or twice any pecuniary gain to the
                        defendant or loss to the victim(s);


               c.       a term of supervised release ofnot more than three years, which may
                        be mandatory under the law and will follow any term of
                        imprisonment. If the defendant violates the conditions of supervised
                        release, the defendant could be imprisoned for the entire term   of
                        supervised release;


              d.        a   mandatory special assessment of$100;


                        restitution to victims or to the community, which may be mandatory
                        under the law, and which the defendant agrees may include
                        restitution arising from all relevant conduct, not limited to that
                        arising from the offense ofconviction alone;


              f.        costs of incarceration and supervision; and


              C.        forfeitureofproperty.

       4.     Immigration consequences: The defendant recognizes that pleading

guilty may have consequences with respect to the defendant's immigration status if the

defendant is not a citizen ofthe United States. Under federal law, a broad range    of

crimes are removable offenses. The defendant understands this may include the offense

to which the defendant is pleading guilty, and for purposes of this plea agreemen! the


Richard Kazmaier
Plea Agreemelt-Pag€ 2
 Case 2:22-cr-00005-Z-BR Document 23 Filed 08/18/22                   Page 3 of 9 PageID 64




 defendant assumes the offense is a removable offense. Removal and other immigration

 consequences are the subject ofa separate proceeding, however, and the defendant

understands that no one, including the defendant's attomey or the district cour! can

predict to a certainty the effect ofthe defendant's conviction on the defendant's

immigration status. The defendant nevertheless affrrms that the defendant wants to plead

guilty regardless of any immigration consequences that the defendant's plea of guilty

may entail, even ifthe consequence is the defendant's automatic removal from the United

States.

          5.   Court's sentencing discretion and role ofthe Guidelines: The defendant

understands that the sentence in this case   will   be imposed by the Court after consideration

ofthe United States Sentencing Guidelines. The guidelines are not binding on the Court,

but are advisory   only.   The defendant has reviewed the guidelines with the defendant's

attomey, but understands no one can predict with certainty the outcome ofthe Court's

consideration ofthe guidelines in this case. The defendant will not be allowed to

withdraw the defendant's plea ifthe defendant's sentence is higher than expected. The

defendant fully understands that the actual sentence imposed (so long as it is within the

statutory maximum) is solely in the discretion of the Court.

          6.   Mandatory special assessments: Prior to sentencing, the defendant        agrees


to pay to the U.S. Disuict Clerk the amount of $100 in satisfaction of the mandatory

special assessment in this case.

       7.      Defendant's agreement: The defendant shall give complete and truthful

information and/or testimony conceming the defendant's participation in the offense       of

Richard Kazmaier
Plea Agreement-Page 3
 Case 2:22-cr-00005-Z-BR Document 23 Filed 08/18/22                        Page 4 of 9 PageID 65




 conviction. Upon demand, the defendant shall submit           a   personal financial statement

 under oath and submit to interviews by the government and the U.S. Probation Office

regarding the defendant's capacity to satisfr any fines or restitution. The defendant

expressly authorizes the United States Attomey's Office to immediately obtain a credit

report on the defendant in order to evaluate the defendant's ability to satisfy any financial

obligation imposed by the Court. The defendant fully understands that any financial

obligation imposed by the Court, including        a   restitution order and/or the implementation

of a fine, is due and payable immediately. In the event the Court imposes a schedule for

payment of restitution, the defendant agrees that such a schedule represents a minimum

payment obligation and does not preclude the U.S. Attorney's Office from pursuing any

other means by which to satisfy the defendant's full and immediately enforceable

financial obligation. The defendant understands that the defendant has           a   continuing

obligation to pay in full as soon   as   possible any financial obligation imposed by the

Coud.

        8.     Government's agreement: The govemment will not bring any additional

charges against the defendant based upon the conduct underlying and related to the

defendant's plea of guilty. The govemment         will file a Supplement in this     case, as is


routinely done in every case, even though there may or may not be any additional terms.

The govemment      will dismiss, after   sentencing, any remaining charges in the pending

Indictment. This agreement is limited to the United States Attorney's Office for the

Northern Distict of Texas and the DOJ Environmental Crimes Section and does not bind




Richard Kazmaier
Plea Agreemert-Page 4
 Case 2:22-cr-00005-Z-BR Document 23 Filed 08/18/22                        Page 5 of 9 PageID 66




 any other federal, state, or local prosecuting authorities, nor does it prohibit any civil or

 administrative proceeding against the defendant or any property.

        9.      Sentencing Factors. In accordance with Federal Rule of Criminal

 Procedure I l(cXl)(B), the parties recommend that the following Sentencing Guidelines

provisions apply to this case:

                a.   The base offense level is six, pursuant to USSG g 2Q2.1(a);

                b.   The offense level should be increased by two levels pursuant to USSG              $


                     2Q2.1(bX1XB) because it involved        a   pattern of similar violations;

                c    Pursuant to USSG $ 2Q2. 1(bX3XA), the offense level should be

                     increased by two levels as referenced in the USSG $ 281.1 table that

                     corresponds to the wildlife's market value between $6,500 and $15,000.

               d.    Pursuant to USSG $ 3E1.1(a) the offense level should be reduced by

                     two levels as the defendant has clearly demonstrated acceptance of

                     responsibility for his offense.

This recommendation is not binding upon the Court or the United States Probation

Offrce, and the defendant will not be allowed to withdraw his guilty plea if the Court

does not   follow this recommendation.

       10.     Sentencing Recommendation. The parties agree to recommend to the

Court that the defendant pay a fine of$5,000. The defendant understands that the

imposition ofa fine is to be determined by the Court as described in Paragraph 3.

       If the Court imposes     a fine,   it will be payable immediately unless, pursuant to      18


u.s.c. $ 3572(d), the court     orders otherwise. Pursuant to 34 U.S.C. $ 20101 (formerly

Richard Kazmaier
Plea Agreement-Page 5
  Case 2:22-cr-00005-Z-BR Document 23 Filed 08/18/22                         Page 6 of 9 PageID 67




 42U.5.C. $ 1060(bXl)(A)), any fine imposed will paid by the clerk to the Cooperative

 Endangered Species Conservation Fund (mail address: U.S. Fish and Wildlife Service

 Cost Accounting Section P.O Box 272065 Denver, CO 80227-9060). This fund,

 containing criminal fines, penalties, and forfeitures collected pursuant to the Lacey Act,

 is managed by the U.S. Fish and Wildlife Service. Rewards are paid from this account to

persons who furnish information that leads to an arrest, criminal conviction, civil penalty

assessment, or forfeiture        ofproperty for any violation ofthe Lacey Act or its regulations,

as   well       as the costs incurred by persons who provide temporary care     for fish, wildlife, or

plants pending the disposition of any civil or criminal Lacey Act proceeding. 16 U.S.C. $

337s(d).

            I   l.   Molation of agreement: The defendant understands that ifthe defendant

violates any provision ofthis agreemen! or if the defendant's guilty plea is vacated or

withdrawn, the government will be Aee Iiom any obligations of the agreement and &ee to

prosecute the defendant for all offenses of which it has knowledge. In such event, the

defendant waives any objections based upon delay in prosecution. Ifthe plea is vacated

or withdrawn for any reason other than a finding that it was involuntary, the defendant

also waives objection to the use against the defendant ofany information or statements

the defendant has provided to the government, and any resulting leads.

        12.          Voluntary plea: This plea of guilty is freely   and   voluntarily made and is

not the result offorce or threats, or ofpromises apart from those set forth in this plea

agreement. There have been no guarantees or promises from anyone as to what sentence

the Court will impose.

Richard Kazmaier
Plea Agreement-Page 6
 Case 2:22-cr-00005-Z-BR Document 23 Filed 08/18/22                    Page 7 of 9 PageID 68




        13.     Waiver of right to appeal or otherwise challenge sentence: The

 defendant waives the defendant's rights, conferred by 28 U.S.C. g 1291 and 18 U.S.C. $

 3742,to appeal the conviction, sentence, fine and order of restifution or forfeifure in an

 amount to be determined by the district court. The defendant further waives the

defendant's right to contest the conviction, sentence, fine and order ofrestitution or

forfeiture in any collateral proceeding, including proceedings under 28 U.S.C. $ 2241 and

28 U.S.C. $ 2255. The defendant, however, reserves the rights (a) to bring a direct appeal

of (i) a sentence exceeding the statutory maximum punishment, or (ii) an arithmetic error

at sentencing, (b) to challenge lhe voluntariness ofthe defendant's plea of guilty or this

waiver, and (c) to bring   a   claim of ineffective assistance ofcounsel.

        14.    Representation of counsel: The defendant has thoroughly reviewed all

legal and factual aspects of this case with the defendant's attomey and is fully satisfied

with that attomey's legal representation. The defendant has received from the

defendant's attorney explanations satisfactory to the defendant concerning each

paragraph ofthis plea agreement, each of the defendant's rights affected by this

agreement, and the alternatives available to the defendant other than entering into this

agreement. Because the defendant concedes that the defendant is guilty, and after

confening with the defendant's attorney, the defendant has concluded that it is in the

defendant's best interest to enter into this plea agreement and all its terms, rather than to

proceed to hial in this case.

       15.    Entirety of agreement: This document is a complete statement of the

parties' agreement and may not be modified unless the modification is in writing and

Richerd Kazmaier
Ple3 Agreement-Page 7
 Case 2:22-cr-00005-Z-BR Document 23 Filed 08/18/22                  Page 8 of 9 PageID 69




 signed by all parties. This agreement supersedes any and all other promises,

 representations, understanding, and agreements    tlat   are or were made between the parties

 at any time before the guilty plea is entered in court. No promises or representations

have been made by the United States except as set forth in writing in this plea agreement.
                                              -,.1L.._
          AGREED TO AND SIGNED this        lt'   day     of August,2022

                                           CHAD MEACHAM
                                           UNITED STATES ATTORNEY

                                                                          I



ANNA               B                       RYAN CONNO
Assistant           S     Attomey          Senior Trial
New           State ar Number 12501        Neu, York State ar Number 4404901
500 South Taylor Street, Suite 300         150 M Street NE
Amarillo, T exas 7 9 101 -2446             Washington, DC20002
Telephone: 806-324-2356                    Telephone: 202-305-0363
Facsimile: 806-324-2399                   Facsimile:         202-353-1156
E-mail:       anna.bell@usdoj.gov         E-mail:           ryan.connors@usdoj.gov




                                          J         A FRAUSTO
                                                       -in-Charge




Richsrd Kazmaier
Plea   Agrcemert-Pigc   t
 Case 2:22-cr-00005-Z-BR Document 23 Filed 08/18/22              Page 9 of 9 PageID 70



        I have read or had read to me this plea agreement and have carefully reviewed
 every part of it with my attorney. I fully understand it and voluntarily agree to it.



    &-z--
 Richard Kazmaier                         Date
                                                  tt ff*, Z.zU
 Defendant

        I am the defendant's attomey. I have carefully reviewed every part ofthis plea
agreement with the defendant. To my knowledge and belief, my client's decision to enter
into this plea agreement is an informed and voluntary one.


                                                 q- ft   'LL
Benj           le                         Date
Attornev       efendant




Richard Kazmaier
PIea Agreement-Page 9
